Case 3:15-cv-02277-JAH-RNB Document 91 Filed 03/06/19 PageID.757 Page 1 of 5



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     General of the State of California
 8
 9                    IN THE UNITED STATES DISTRICT COURT
10                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
12
13   NATIONAL INSTITUTE OF                          3:15-cv-02277-JAH-DHB
     FAMILY AND LIFE ADVOCATES
14   dba NIFLA, a Virginia corporation;             STIPULATION -- AND JOINT
     PREGNANCY CARE CENTER dba                      REQUEST FOR COURT ORDER
15   PREGNANCY CARE CLINIC, a                       -- REGARDING THE PARTIES’
     California corporation; and                    SETTLEMENT OF PLAINTIFFS’
16   FALLBROOK PREGNANCY                            CLAIMS FOR ATTORNEYS’
     RESOURCE CENTER, a California                  FEES AND COSTS
17   corporation,
                                                    Judge:      Hon. John A. Houston
18                                Plaintiffs,       Trial Date: N/A
                                                    Case Filed: Oct. 13, 2015
19               v.
20
     XAVIER BECERRA, in his official
21   capacity as Attorney General of the
     State of California; THOMAS
22   MONTGOMERY, in his official
     capacity as County Counsel for San
23   Diego County; MORGAN FOLEY, in
     his official capacity as City Attorney
24   for the City of El Cajon, CA; and
     EDMUND G. BROWN, JR., in his
25   official capacity as Governor of the
     State of California,
26
                                Defendants.
27
28
                                                1
                                                         Stipulation Re: Attorney Fees and Costs
                                                                      (3:15-cv-02277-JAH-DHB)
Case 3:15-cv-02277-JAH-RNB Document 91 Filed 03/06/19 PageID.758 Page 2 of 5



 1        Plaintiffs National Institute of Family and Life Advocates, Pregnancy Care
 2   Center, and Fallbrook Pregnancy Resource Center, on one hand, and Defendant
 3   Xavier Becerra, Attorney General of the State of California, sued in his official
 4   capacity, on the other hand, agree and stipulate as follows:
 5                                        BACKGROUND
 6        A.       On October 13, 2015, Plaintiffs filed the complaint in this lawsuit.
 7        B.       On October 21, 2015, Plaintiffs moved this Court for a preliminary
 8   injunction against enforcement of the Reproductive FACT Act, California Health
 9   and Safety Code section 123470, et seq. (the “Act”). On November 13, 2015,
10   Defendant filed opposition to the motion. (Other defendants also filed their own
11   oppositions to the motion.) On November 20, 2015, Plaintiffs filed a reply in
12   support of the motion. On January 28, 2016, the Court held an oral argument of the
13   motion. On February 9, 2016, the Court issued a ruling denying the motion.
14        C.       On February 18, 2016, Plaintiffs filed in the U.S. Court of Appeals, Ninth
15   Circuit, a notice of appeal of this Court’s ruling denying the motion for a
16   preliminary injunction. On March 17, 2016, Plaintiffs filed their opening brief on
17   the appeal. On April 14, 2016, Defendant filed an answering brief. On April 28,
18   2016, Plaintiffs filed their reply brief. On June 14, 2016, the Ninth Circuit held an
19   oral argument of the appeal. On October 14, 2016, the Ninth Circuit issued a ruling
20   affirming this Court’s ruling.
21        D.       On March 20, 2017, Plaintiffs filed in the U.S. Supreme Court a petition
22   for a writ of certiorari regarding the Ninth Circuit’s ruling that affirmed this Court’s
23   ruling denying Plaintiffs’ motion for a preliminary injunction. On May 24, 2017,
24   Defendant filed an opposition brief. On June 5, 2017, Plaintiffs filed a reply brief.
25   On November 13, 2017, the Supreme Court granted the petition for a writ of
26   certiorari.
27        E.       On January 8, 2018, Plaintiffs filed in the Supreme Court the opening
28   merits brief of the appeal, regarding the Ninth Circuit’s ruling that affirmed this
                                                   2
                                                          Stipulation Re: Attorney Fees and Costs
                                                                       (3:15-cv-02277-JAH-DHB)
Case 3:15-cv-02277-JAH-RNB Document 91 Filed 03/06/19 PageID.759 Page 3 of 5



 1   Court’s ruling denying Plaintiffs’ motion for a preliminary injunction. On February
 2   20, 2018, Defendant filed an opposition brief. On March 13, 2018, Plaintiffs filed a
 3   reply brief. On March 20, 2018, the Supreme Court held an oral argument of the
 4   appeal. On June 26, 2018, the Supreme Court issued an order reversing the Ninth
 5   Circuit’s ruling and remanding to the Ninth Circuit.
 6        F.    On August 28, 2018, the Ninth Circuit reversed in part and vacated in
 7   part its October 14, 2016, ruling that affirmed this Court’s ruling denying Plaintiffs’
 8   motion for a preliminary injunction, and remanded to this Court.
 9        G.    On October 26, 2018, Plaintiffs and Defendant submitted to this Court a
10   stipulation for Defendant to be permanently enjoined from enforcing the Act, and
11   for other relief for Plaintiffs. On that same day, the Court entered an order
12   permanently enjoining Defendant from enforcing the Act, and granting other relief
13   to Plaintiffs.
14             RESOLUTION OF ISSUE OF ATTORNEY FEES AND COSTS
15        1.    Plaintiffs and Defendant have reached an agreement regarding attorneys’
16   fees and costs, as follows, and therefore jointly request that the Court enter the
17   attached proposed order, which is necessary to effectuate the settlement:
18        2.    Defendant has had an adequate opportunity to inspect the billing records,
19   cost invoices, and qualifications of Plaintiffs’ counsel, and Defendant agrees with
20   Plaintiffs that the sum of $958,535.80, without interest, is a reasonable recovery for
21   Plaintiffs’ attorneys’ fees and costs in this matter.
22        3.    Defendant shall pay to Plaintiffs the sum of $958,535.80, as and for
23   reasonable attorneys’ fees and costs in this matter (hereinafter the “Settlement
24   Sum”), via warrant payable to “Alliance Defending Freedom.”
25        4.    To obtain funds in the amount of the Settlement Sum to pay same,
26   Defendant shall take all necessary and reasonable measures to ensure that the
27   Settlement Sum is listed on the next claims bill (“Claims Bill”), for California
28   Department of Justice claims, submitted in the California Legislature, said
                                                 3
                                                         Stipulation Re: Attorney Fees and Costs
                                                                      (3:15-cv-02277-JAH-DHB)
Case 3:15-cv-02277-JAH-RNB Document 91 Filed 03/06/19 PageID.760 Page 4 of 5



 1   measures including seeking California Department of Finance approval of the
 2   Settlement Sum for inclusion on a Claims Bill within 14 business days of entry of
 3   this Court’s order reflecting this settlement agreement. Defendant agrees to keep
 4   Plaintiffs apprised of the Claims Bill’s progress, and to act in good faith to facilitate
 5   the Claim Bill’s enactment as soon as practicable.
 6        5.    The submission of the Settlement Sum in the Claims Bill cannot be made
 7   without an order of this Court requiring Defendant to pay the Settlement Sum.
 8        6.    Defendant shall seek issuance of a warrant from the California State
 9   Controller to pay the Settlement Sum on or before the date 14 business days after
10   the enactment by the California Legislature and the signing into law by the
11   California Governor of the Claims Bill.
12        7.    As soon after the issuance of the warrant as reasonably possible, because
13   the warrant will be sent from the California State Controller first to the California
14   Department of Justice for further processing, the Settlement Sum shall be sent to
15   the Arizona office of the undersigned counsel for Plaintiffs, at 15100 North 90th
16   St., Scottsdale, AZ 85260, via a trackable mail service, such as U.S. Postal Service
17   Priority Mail. Promptly upon dispatch, Defendant shall confirm the mailing of the
18   warrant in writing to Plaintiffs’ counsel, and shall provide the tracking information
19   to Plaintiffs’ counsel.
20        8.    If the Settlement Sum is sent to counsel for Plaintiffs on or before
21   September 6, 2019, Plaintiffs’ receipt and successful negotiation of the warrant for
22   the Settlement Sum will completely satisfy Defendant’s obligation to pay attorneys’
23   fees and costs in this matter (provided that if, after the warrant is mailed by
24   Defendant, Plaintiffs notify Defendant in writing that the warrant was not received
25   by Plaintiffs, then Defendant shall move expeditiously to have a replacement
26   warrant prepared and sent to Plaintiffs as per paragraph 7, above).
27        9.    If for any reason whatsoever (including failure of the California
28   Legislature to enact the Claims Bill) Defendant fails to send the Settlement Sum to
                                                 4
                                                         Stipulation Re: Attorney Fees and Costs
                                                                      (3:15-cv-02277-JAH-DHB)
Case 3:15-cv-02277-JAH-RNB Document 91 Filed 03/06/19 PageID.761 Page 5 of 5



 1   the Arizona office of the undersigned counsel for Plaintiffs by September 6, 2019,
 2   then Plaintiffs shall be entitled to a Consent Judgment against Defendant for the
 3   sum of $958,535.80. Plaintiffs and Defendant shall jointly submit such a Consent
 4   Judgment to the Court on or before September 20, 2019.
 5        10. If any additional litigation becomes necessary to enforce the terms of this
 6   settlement agreement, the prevailing party shall be entitled to recover reasonable
 7   attorney’s fees, costs, and interest.
 8        11. This settlement agreement contains the entire agreement between the
 9   Plaintiffs and Defendant.
10 Dated: March 6, 2019                            Respectfully submitted,
11                                                 XAVIER BECERRA
                                                   Attorney General of California
12                                                 STEPAN A. HAYTAYAN
                                                   Supervising Deputy Attorney General
13
14                                                 s/ Jonathan M. Eisenberg                 _
15                                                 JONATHAN M. EISENBERG
                                                   Deputy Attorney General
16                                                 Attorneys for Defendant Xavier
                                                   Becerra, Attorney General of the
17                                                 State of California
18
19 Dated: March 6, 2019                            Respectfully submitted,
20                                                 ALLIANCE DEFENDING FREEDOM
21
                                                   s/ Kevin H. Theriot                     _
22
                                                   KEVIN H. THERIOT
23                                                 Attorneys for Plaintiffs National
                                                   Institute of Family and Life
24                                                 Advocates, Pregnancy Care Center,
                                                   and Fallbrook Pregnancy Resource
25                                                 Center
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27
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                                               5
                                                       Stipulation Re: Attorney Fees and Costs
                                                                    (3:15-cv-02277-JAH-DHB)
